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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
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 4   Telephone: (559) 497-4000

 5

 6               IN THE UNITED STATES DISTRICT COURT FOR THE

 7                       EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,          ) 1:09-cr-00104 LJO
                                        )
10                  Plaintiff,          )
          v.                            ) STIPULATION RE:
11                                      ) CONTINUANCE AND ORDER
     NOEL CASTILLO,                     )
12                                      )
                                        )
13                  Defendant.          )
     ___________________________________)
14
          Defendant NOEL CASTILLO, by and through his attorney, ROBERT
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     FORKNER, and the United States of America, by and through its
16
     attorneys, BENJAMIN B. WAGNER, United States Attorney, and KAREN
17
     A. ESCOBAR, Assistant United States Attorney, hereby enter into
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     the following stipulation:
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          1.   The parties to the above-captioned matter agree to vacate
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     the January 14, 2011, sentencing date and reset the matter for
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     March 11, 2011, at 9:0 a.m.
22
          2.   The parties stipulate that the continuance is
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     necessitated to effectuate the terms of the plea agreement.
24
     DATED: January 12, 2011                      Respectfully submitted,
25
                                                  BENJAMIN B. WAGNER
26                                                United States Attorney

27                                                By: /s/ Karen A. Escobar
                                                    KAREN A. ESCOBAR
28                                                Assistant U.S. Attorney

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 2                                                     /s/ Robert Forkner
                                                       ROBERT FORKNER
 3                                                     Attorney for Defendant
                                                       NOEL CASTILLO
 4
                                    O R D E R
 5
              Having read and considered the foregoing stipulation, the
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     current sentencing date of January 14, 2011, is hereby vacated and
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     is reset for March 11, 2011, at 9:00 a.m.           Good cause exists.
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                                   IT IS SO ORDERED.
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     Dated:     January 12, 2011            /s/ Lawrence J. O'Neill
10   b9ed48                             UNITED STATES DISTRICT JUDGE

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